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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                          GREAT FALLS DIVISION



 UNITED STATES OF AMERICA,                 PO-22-5058-GF-JTJ
                                           Ticket Number: E1102330
                    Plaintiff,             Location Code: M13
                                           Disposition Code: PE
 vs.
                                           JUDGMENT IN A CRIMINAL CASE
 ADAM KRETZER,

                    Defendant.



       The Defendant, Adam Kretzer, was present in court and entered a plea of no
contest to the charge of: UNSAFE OPERATION: OPERATE WITHOUT DUE
CARE.
       The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
             1. Defendant must pay a fine in the amount of $70.00 plus $30.00
Special Assessment for UNSAFE OPERATION: OPERATE WITHOUT DUE
CARE for a total of $100.00, Defendant must pay by check or money order
payable to U.S. COURTS CVB and mailed to CENTRAL VIOLATIONS
BUREAU, P.O. Box 780549 San Antonio, TX 78278. Defendant may also pay
online at www.cvb.uscourts.gov . The fine shall be paid as follows: In full on or
before October 7, 2022.
       Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
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imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
the statement upon the United States Attorney (personally or by mail) and filing a
copy with Magistrate John Johnston. If you appeal, you will be required to pay a
$38 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the time of
filing your appeal. You also will be required to furnish the District Court Judge a
copy of the record, which consists of the “original papers and exhibits in the case
together with any transcript, tape or other recording of the proceedings and a
certified copy of the docket entries which shall be transmitted promptly to the clerk
of court.” Fed. R. Crim. P. 58(g)(2)(c).


Date of Imposition of Judgment: September 30, 2022.


_____9/30/2022_______                               ______________________
Date Signed                                         JOHN JOHNSTON
                                                    United States Magistrate Judge
